  Case: 3:17-cv-50107 Document #: 853 Filed: 07/19/23 Page 1 of 3 PageID #:39246




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               WESTERN DIVISION



 CITY OF ROCKFORD,
                                                     Case No. 3:17-cv-50107
                                Plaintiff,
                                                     District Judge Iain D. Johnston
                v.
                                                     Magistrate Judge Lisa A. Jensen
 MALLINCKRODT ARD, INC., et al.,

                                Defendants.


   THE EXPRESS SCRIPTS ENTITIES’ RESPONSE TO THE THIRD-PARTY
REQUEST TO UNSEAL THE DEPOSITION TRANSCRIPT OF DR. STEVEN MILLER

       Pursuant to the Court’s July 12, 2023 Order, ECF No. 846, Defendants Express Scripts

Holding Co., Express Scripts, Inc., CuraScript, Inc. d/b/a CuraScript, SD, Accredo Health Group,

Inc., and United BioSource Corp. n/k/a United BioSource LLC (collectively, the “Express Scripts

Entities”) respectfully submit this response to the request of third-party Maureen Tkacik to unseal

the September 15, 2022 deposition transcript of Dr. Steven Miller, ECF No. 845.

       The Express Scripts Entities do not object to unsealing Dr. Miller’s September 15, 2022

deposition transcript, which was attached as Exhibit C3 to Plaintiff’s reply in support of its motion

for class certification, ECF No. 746. For the convenience of the Court, the Express Scripts Entities

have attached an unredacted copy of Dr. Miller’s transcript with this filing. In the interest of

providing a complete record of Dr. Miller’s testimony, the Express Scripts Entities have also

attached with this filing Dr. Miller’s March 29, 2023 deposition transcript, none of which was

designated as confidential.




                                                 1
  Case: 3:17-cv-50107 Document #: 853 Filed: 07/19/23 Page 2 of 3 PageID #:39247




       The Express Scripts Entities reserve all rights with regard to any additional requests to

unseal other documents or deposition transcripts. That includes any documents used as exhibits

during Dr. Miller’s deposition, several of which contain confidential, commercially sensitive

and/or trade secret information. See, e.g., The Express Scripts Entities’ Response to Plaintiff’s

Motion to Determine Confidentiality, ECF No. 800, at 7-14 (describing basis for good cause to

maintain confidentiality with regard to certain types of documents).

 Dated: July 19, 2023              Respectfully Submitted,

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                                  SD, Accredo Health Group, Inc., and United BioSource
                                  Corp. n/k/a United BioSource LLC




                                                2
  Case: 3:17-cv-50107 Document #: 853 Filed: 07/19/23 Page 3 of 3 PageID #:39248




                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 19, 2023, a true and correct copy of the foregoing document

was electronically filed with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.

                                                        /s/ Eric C. Lyttle
                                                        Eric C. Lyttle




                                                   3
